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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

TRACEY GRISSOM (AIS #296141),                  )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )       Case No. 2:19cv420-RAH-WC
                                               )
CORIZON, LLC, et al.,                          )
                                               )
       Defendants.                             )

                          HIPAA ORDER IN CIVIL ACTION

       Upon consideration of the Unopposed Motion for HIPAA Order (Doc. 55) and for

good cause shown, it is hereby

       ORDERED that the motion is GRANTED and that the parties and all interested

non-parties shall be governed as follows:

       Upon compliance with Federal law and Alabama law, the attorneys for the parties

and/or pro se parties to this lawsuit are permitted to obtain all health information, including

charges therefore, relating to any Individual who is a party to this case or of any decedent

or other real party in interest represented by an executor, administrator, guardian, next

friend, bailee, or trustee. This Order neither broadens nor restricts any party’s ability to

conduct discovery pursuant to Alabama law, the sole purpose hereof being only to permit

compliance with the Health Insurance Portability and Accountability Act of 1996.

       This Court Order authorizes any third-party who is provided with a subpoena

requesting the production of documents or commanding attendance at deposition or

trial to disclose Protected Health Information in response to such request or
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subpoena. This Court Order is intended to authorize such disclosures under Section

164.512(e)(l) of the privacy regulations issued pursuant to the Health Insurance

Portability and Accountability Act of 1996.

       Nothing in this Order shall be deemed to relieve any party or attorney of the

requirements of the Federal Rules of Civil Procedure and/or Alabama Rules of Civil

Procedure. Nothing in this Order permits disclosure of confidential communications made

for the purposes of diagnosis or treatment of a patient’s mental or emotional condition,

including alcohol or drug addiction, among the patient, the patient’s psychotherapist, and

persons who are participating in the diagnosis or treatment under the direction of the

psychotherapist, including members of the patient’s family, nor does this Order permit

disclosure of records or information relating to HIV testing or sexually transmitted disease.

       Nothing in this Order shall be construed to authorize any party or any attorney for

any party to release, exchange, submit, or share any Protected Health Information with any

other person or any other entity other than an agent or employee of the attorney or party.

This Order prohibits the parties from using or disclosing the Protected Health Information

for any purpose other than this litigation or proceeding.

       At the conclusion of this action and at the written request of an Individual whose

Protected Health Information has been disclosed or such Individual’s authorized

representative, all recipients of the Protected Health Information shall return to the

requesting party the documents and all copies thereof containing Protected Health

Information received by them pursuant to this Order, except that Protected Health

Information that is included in insurance claim files and law firm litigation files may be
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retained to allow compliance to the extent and for the period that such retention is required

by Alabama insurance laws and the Alabama State Bar rules and regulations.

       Done this 19th day of February, 2020.


                                   /s/ Wallace Capel, Jr.
                                   WALLACE CAPEL, JR.
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
